Case 3:17-cv-00939-WHA Document 595-5 Filed 06/12/17 Page 1 of 12




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                                       ATTACHMENT A

                                         DEFINITIONS

       1.      “LEVANDOWSKI” and “YOU” means Anthony Levandowski.

       2.      “RADUTA” means Radu Raduta.

       3.      “KSHIRSAGAR” means Sameer Kshirsagar.

       4.      “WAYMO” means Waymo LLC and its officers, directors, current and former

employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and WAYMO’s affiliates, parents, divisions, joint ventures, licensees,
franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether

foreign or domestic, that are owned or controlled by WAYMO, and all predecessors and

successors in interest to such entities, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by WAYMO.

       5.      “GOOGLE” means Google Inc. and its officers, directors, current and former

employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and GOOGLE’s affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether

foreign or domestic, that are owned or controlled by GOOGLE, and all predecessors and

successors in interest to such entities, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by GOOGLE.

       6.      “UBER” means Uber Technologies, Inc. and its officers, directors, current and

former employees, counsel, agents, consultants, representatives, and any other persons acting on

behalf of any of the foregoing, and UBER’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by UBER, and all

predecessors and successors in interest to such entities, and any entity owned in whole or in part
by, affiliated with, or controlled in whole or in part by UBER.



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       7.      “OTTO” means either Ottomotto LLC or Otto Trucking LLC, and their officers,

directors, current and former employees, counsel, agents, consultants, representatives, and any

other persons acting on behalf of any of the foregoing, and OTTO’s affiliates, parents, divisions,

joint ventures, licensees, franchisees, assigns, predecessors and successors in interest, and any

other legal entities, whether foreign or domestic, that are owned or controlled by OTTO, and all

predecessors and successors in interest to such entities, and any entity owned in whole or in part

by, affiliated with, or controlled in whole or in part by OTTO. For the avoidance of doubt,

OTTO includes all former names under which OTTO operated, including without limitation 280

Systems, Inc., 280 Systems, LLC, and Ottomotto, Inc.

       8.      “DEFENDANTS” means UBER and OTTO.

       9.      “ODIN WAVE” means Odin Wave, LLC and its officers, directors, current and

former employees, counsel, agents, consultants, representatives, and any other persons acting on

behalf of any of the foregoing, and ODIN WAVE’s affiliates, parents, divisions, joint ventures,

licensees, franchisees, assigns, predecessors and successors in interest, and any other legal

entities, whether foreign or domestic, that are owned or controlled by ODIN WAVE, and all

predecessors and successors in interest, and any entity owned in whole or in part by, affiliated

with, or controlled in whole or in part by ODIN WAVE.

       10.     “TYTO” means Tyto Lidar LLC, and its officers, directors, current and former
employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and TYTO’s affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, and any other legal entities, whether

foreign or domestic, that are owned or controlled by TYTO, and all predecessors and successors

in interest, and any entity owned in whole or in part by, affiliated with, or controlled in whole or

in part by TYTO.

       11.     “POUCH HOLDINGS” means Pouch Holdings LLC, and its officers, directors,

current and former employees, counsel, agents, consultants, representatives, and any other
persons acting on behalf of any of the foregoing, and POUCH HOLDING’s affiliates, parents,


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divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned or controlled by

POUCH HOLDINGS, and all predecessors and successors in interest, and any entity owned in

whole or in part by, affiliated with, or controlled in whole or in part by POUCH HOLDINGS.

       12.     “APPARATE INTERNATIONAL” means Apparate International C.V. and its

officers, directors, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing, and APPARATE

INTERNATIONAL’s affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, and any other legal entities, whether foreign or domestic,

that are owned or controlled by APPARATE INTERNATIONAL, and all predecessors and

successors in interest, and any entity owned in whole or in part by, affiliated with, or controlled

in whole or in part by APPARATE INTERNATIONAL.

       13.     “MISAPPROPRIATED MATERIALS” refers to all GOOGLE and WAYMO

DOCUMENTS and materials, whether digital or physical, and regardless of the manner stored,

for which LEVANDOWSKI retained possession, without authorization of either GOOGLE or

WAYMO, after LEVANDOWSKI’s employment with GOOGLE/WAYMO ended. Without

limitation, MISAPPROPRIATED MATERIALS includes at least: (i) each of the more than

14,000 digital files downloaded by LEVANDOWSKI on or about December 11, 2015 from the
SVN repository; (ii) each file copied by LEVANDOWSKI from his GOOGLE laptop to an

RDF5 USB 3.0 card reader on or about December 14, 2015; (iii) each of the five files titled: PBR

Intensity Calibration; Pbr Extrinsic Calibration; Tx and Rx tuning Instructions; GBr Assembly

Flowchart SOP; and TBR Testing Station that were exported by LEVANDOWSKI from Google

Drive to a personal device on or about January 4, 2016; and (iv) the file titled: Chauffer TL

weekly updates – Q4 2015 exported by LEVANDOWSKI from Google Drive to a personal

device on or about January 11, 2016

       14.     “DOCUMENTS” shall INCLUDE, without limitation, all written, graphic or
otherwise recorded material, INCLUDING without limitation, electronically stored information


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regardless of the form of storage medium, microfilms or other film records or impressions, tape

recordings or computer cards, floppy disks or printouts, any and all papers, photographs, films,

recordings, memoranda, books, records, accounts, communications, letters, telegrams,

correspondence, notes of meetings, notes of conversations, notes of telephone calls, inter-office

memoranda or written communications of any nature, recordings of conversations either in

writings or upon any mechanical or electrical recording devices, INCLUDING e-mail, notes,

papers, reports, analyses, invoices, canceled checks or check stubs, receipts, minutes of

meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial statements,

telephone bills, logs, and any differing versions of any of the foregoing, whether so denominated,

formal, informal or otherwise, as well as copies of the foregoing which differ in any way,

INCLUDING by the addition of handwritten notations or other written or printed matter of any

nature, from the original.    The foregoing specifically INCLUDES information stored in a

computer database and capable of being generated in documentary form, such as electronic mail,

text messages (i.e., SMS messages), other electronic messages including messages sent or

received via Slack, WhatsApp, Google Hangouts, Facebook Messenger, and the like.

       15.     “COMMUNICATIONS” shall mean, without limitation, any transmission,

conveyance or exchange of a word, statement, fact, thing, idea, DOCUMENT, instruction,

information, demand or question by any medium, whether by written, oral or other means,
including but not limited to, electronic communications and electronic mail (“e-mail”).

       16.     “REGARDING,” shall mean relating to, referring to, mentioning, reflecting,

pertaining to, evidencing, involving, describing, discussing, commenting on, embodying,

responding to, supporting, contradicting, or constituting (in whole or in part), as the context

makes appropriate.

       17.     “INCLUDE” and “INCLUDING” shall mean including without limitation.

       18.     Use of the singular also INCLUDES the plural and vice-versa.




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          19.    The words “or” and “and” shall be read in the conjunctive and in the disjunctive

wherever they appear, and neither of these words shall be interpreted to limit the scope of these

Requests for Production.

          20.    The use of a verb in any tense shall be construed as the use of the verb in all other

tenses.
                                         INSTRUCTIONS

          The following instructions shall apply to each of the Document Requests herein:


          1.     In answering the following Document requests, furnish all available information,
INCLUDING information in the possession, custody, or control of YOU or any of YOUR

attorneys, directors, officers, agents, employees, representatives, associates, investigators or

division affiliates, partnerships, parents or subsidiaries, and persons under YOUR control, who

have the best knowledge, not merely information known to YOU based on YOUR own personal

knowledge. If you cannot fully respond to the following Document Requests after exercising

due diligence to secure the information requested thereby, so state, and specify the portion of

each Document Request that cannot be responded to fully and completely. In the latter event,

state what efforts were made to obtain the requested information and the facts relied upon that

support the contention that the Document Request cannot be answered fully and completely; and

state what knowledge, information or belief YOU has concerning the unanswered portion of any

such Document Requests.
          2.     Electronic records and computerized information must be produced in an

intelligible format.

          3.     Selection of documents from the files and other sources and the numbering of

such documents shall be performed in such a manner as to ensure that the source of each

document may be determined, if necessary.

          4.     File folders with tabs or labels or directories of files identifying documents must
be produced intact with such documents.



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       5.      Documents attached to each other shall not be separated.

       6.      If any information requested is claimed to be privileged or otherwise immune

from discovery, please provide all information falling within the scope of the Document Request

which is not privileged, and for each item of information contained in a document to which a

claim of privilege is made, identify such document with sufficient particularity for purposes of a

motion to compel, such identification to include at least the following:

               (a)     the basis on which the privilege is claimed;

               (b)     the name(s) of the author(s) of the document;

               (c)     the name of each individual or other person to whom the document, or a

copy thereof, was sent; and

               (d)     the date of the document.

       7.      If YOUR response to a particular Document Request is a statement that YOU

lacks the ability to comply with that Document Request, YOU must specify whether the inability

to comply is because the particular item or category of information never existed, has been

destroyed, has been lost, misplaced, or stolen, or has never been, or is no longer, in YOUR

possession, custody, or control, in which case the name and address of any person or entity

known or believed by you to have possession, custody, or control of that information or category

of information must be identified.
       8.      If YOUR response to a particular Document Request is a statement that the

requested documents have been deleted, YOU must state the extent of such deletion and produce

all documents bearing on said deletion, destruction, or modification.

       9.      YOUR obligation to respond to these Document Requests is continuing and its

responses are to be supplemented to INCLUDE subsequently acquired information in accordance

with the requirements of Rule 26(e) of the Federal Rules of Civil Procedure.




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                   DOCUMENTS TO BE PRODUCED AND INSPECTED

REQUEST FOR PRODUCTION NO. 1:
    The Misappropriated Materials, including any media that contains or contained the

Misappropriated Materials, any documents derived from, or reflecting the substance of, the

Misappropriated Materials outside of Waymo, and any documents reflecting any meetings or

discussions regarding the substance of the Misappropriated Materials outside of Waymo.


REQUEST FOR PRODUCTION NO. 2:
    All documents and communications regarding your ownership of, relationship to, and/or

involvement with any one of the following entities: Odin Wave, Tyto LiDAR, Apparate

International, and Pouch Holdings.


REQUEST FOR PRODUCTION NO. 3:
    All communications between You and Uber between January 2015 and August 2016.


REQUEST FOR PRODUCTION NO. 4:
    All documents regarding your creation of Otto and/or 280 Systems including, without

limitation, business formation documents, business plans, and solicitations of investment capital.


REQUEST FOR PRODUCTION NO. 5:
    Documents sufficient to show the nature and timing of Otto’s technology (including any

technology previously developed by Odin Wave and/or Tyto LiDAR) relating to Light Detection

and Ranging (“LiDAR”) or self-driving automobiles.


REQUEST FOR PRODUCTION NO. 6:

       All documents and/or communications regarding the acquisition of Otto by Uber,

including all documents and communications regarding steps taken by Otto to prepare for such

acquisition and all due diligence.




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